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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )                  8:11CR258
                                              )
       vs.                                    )                   ORDER
                                              )
ANTHONY HARLAN,                               )
                                              )
                     Defendant.               )


       This matter is before the court on the motion of defendant Anthony Harlan (Harlan) to
review detention (Filing No. 131). Harlan seeks release to his mother’s duplex with electronic
monitoring. Harlan was previously released and placed at CH, Inc. He left CH, Inc., without
authorization and remained in an abscond situation for approximately a month until he was
arrested. Harlan’s proposal that he be released on less restrictive conditions than when he
absconded from CH, Inc., is without merit. The motion is denied.


       IT IS SO ORDERED.


       DATED this 2nd day of January, 2015.


                                                  BY THE COURT:


                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
